    Case 21-30589-MBK              Doc 1372       Filed 02/04/22 Entered 02/04/22 10:34:16                   Desc Main
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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY

       Caption in Compliance with D.N.J. LBR 9004-1(b)

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       (Admitted pro hac vice)

       ATTORNEYS FOR DEBTOR



       In Re:                                                      Adv. No.:
       LTL MANAGEMENT LLC,1
                                                                   Hearing Date:
                                   Debtor.
                                                                   Judge:                    Michael B. Kaplan


                                          CERTIFICATION OF SERVICE

     1. I, Dustin A. Pusch:

             ☒ represent Johnson & Johnson in this matter.

             ☐ am the secretary/paralegal for Click or tap here to enter text., who represents Click or tap here
             to enter text.   in this matter.



1
     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George Street, New
     Brunswick, New Jersey 08933.
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           ☐ am the Click or tap here to enter text.in this case and am representing myself.



 2.        On February 3, 2022, I sent a copy of the following pleadings and/or documents to the parties
           listed in the chart below.
           - Motion for Temporary Restraining Order and Preliminary Injunction to Prevent Reuters from
           Publicizing Confidential Documents Subjecet to a Protective Order [Dkt. No. 1359]



 3.        I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

 Date:     February 4, 2022                                /s/ Dustin A. Pusch
                                                           Signature
  Name and Address of Party Served                  Relationship of                       Mode of Service
                                                   Party to the Case
  Katharine Larsen                              Chief Counsel for            ☐ Hand-delivered
  3 Times Square                                Reuters
                                                                             ☐ Regular mail
  New York, New York 10036
                                                                             ☐ Certified mail/RR
  katharine.larsen@thomsonreuters.com
                                                                             ☒ Other Email
                                                                                (As authorized by the Court or by rule. Cite
                                                                             the rule if applicable.)

  Click or tap here to enter text.              Click or tap here to enter   ☐ Hand-delivered
                                                text.
                                                                             ☐ Regular mail
                                                                             ☐ Certified mail/RR
                                                                             ☐ Other Click or tap here to enter text.
                                                                                (As authorized by the Court or by rule. Cite
                                                                             the rule if applicable.)

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                                                text.
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                                                                                (As authorized by the Court or by rule. Cite
                                                                             the rule if applicable.)

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                                                text.
                                                                             ☐ Regular mail

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